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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Mack,
                                             Plaintiff(s),
                                                                              ORDER
                        -against –
                                                                         7:20-CV-07651 (CS)

Sentry Credit, Inc., et al.,
                                             Defendant(s).
-------------------------------------------------------------X
Seibel, J.
        It having been reported to this Court that the claims in this case have been settled, IT IS
HEREBY ORDERED that this action is discontinued with prejudice but without costs; provided,
however, that if settlement is not consummated within sixty days of the date of this order,
Plaintiff may apply by letter within the sixty-day period for restoration of the action to the
Calendar of the undersigned, in which event the action will be restored.
        SO ORDERED.
Dated: January 12, 2021
        White Plains, New York




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                                                                    CATHY SEIBEL, U.S.D.J.
